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                       UNITED STATES DISTRICT COURT
                       EASTERN DISTRICT OF LOUISIANA

UNITED STATES OF AMERICA                                     CRIMINAL ACTION

VERSUS                                                       NO. 20-55

JASON R. WILLIAMS, ET AL.                                    SECTION I


UNITED STATES OF AMERICA                                     CRIMINAL ACTION

VERSUS                                                       NO. 20-139

NICOLE BURDETT                                               SECTION I

                                      ORDER

      All counsel shall soon receive copies of jury questionnaires completed in

anticipation of the trial in the above captioned case. Following discussions with counsel

and without opposition,

      IT IS ORDERED that the jury questionnaires shall not be disclosed to or be

made available for review and inspection by anyone other than defense counsel

representing defendants, the defendants, the Assistant U.S. Attorneys prosecuting

these cases, federal law enforcement agents, in-house legal staff assisting counsel, and

contract counsel identified by Mr. Magner. Any copies made of any jury questionnaires

shall be accounted for by counsel.

      IT IS FURTHER ORDERED that Counsel shall maintain a written record of

all persons who have access to the jury questionnaires.
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       IT IS FURTHER ORDERED that prior to any disclosure of jury

questionnaires, the person to whom disclosure is made shall review this Order and

initial and date a copy of it.

       IT IS FURTHER ORDERED that any violation of this Order may be addressed

with severe sanctions and/or contempt of Court.

       New Orleans, Louisiana this 10th day of June, 2022.


                                        _____________________________________
                                              LANCE M. AFRICK
                                        UNITED STATES DISTRICT JUDGE
